                      Case 2:24-cr-00423-NJC                         Document 2-1         Filed 10/17/24       Page 1 of 1 PageID #: 25

TO: Clerk's Office
    UNITED STATES DISTRICT COURT                                                     FIL ED
    EASTERN DISTRICT OF NEW YORK                                                   IN CLERKS c ; 7:1-:::::
                                                                             U.S. DISTRICT COURT c.D.N.Y.


      APPLlCATlON FOR L EAVE
    TO FILE DOCUMENT U DER SEAL
                                                                             * OCT : 7 202i *
                                                                             LONG ISLAND OFFICE
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                                                                                                 A) If pursuan t to a prior Court Order:
********************************                                                                 Docket Number of Case in Which Entered:_ _ _ _ _ _ __
 UNITE D STATES OF AMERICA                                                                       Judge/Magistrate Judge:_ _ _ _ _ _ __ _ _ _ _ __


 ~ ICHAELS.JEFFRIES, M A ~ B
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                                                                                                 Date Entered:_ _ _ _ _ _ __ _ _ _ _ _ _ _ _ __



 C. SMIT H and JAMES T. JACOBSO 1                                Docket Number

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SUBMITTED BY: Pla inti !T_ _ De fendant_ _ DOJ
                                                                   ✓~HOUDHURY, a~thorizes
                                                                                ) If a new application, the statute, regulation, or other legal bas is that
                                                                                          filing under seal
Name: Me 0 an E. Farrell
Firm Name:_ _ __ _ _ _ _ _ __ _ _ _ __
Address: 610 Federal Plaza                                                 TISCIONE, M.J.
          Central Islip, NY 11722
Phone Number:--'6""3:....:1_-7'-'l'-5"'-- .:...;78""'6'--=2'------------                         ORDERED SEALED AN D PLACED IN THE CLERK'S OFFICE,
E-Mail Address: megan.farrell@usdo j.gov                                                         AN D MAY NOT BE UNSEALED UN LESS ORDERED BY
                                                                                                 THE COURT.
INDIC/\ TE UPON THE PUBLIC DOCKET SHEET: YES             NO ✓
lf yes, state description of document to be entered on docket sheet:                             DA TED: Central Isli p           , NEW YORK
                                                                                                         10/ 17/2024




                                                                                                 RECEIVED I I C LERK ' S OFFICE~l~0~/1_
                                                                                                                                      7/~2~02_4_ _ _ __ _ _
                                                                                                                                            DATE
MA N DATORY CERTIFICATION OF SERVICE:
A.) _ A copy o f this application either has been or will be promptly served upon all parties to this action, B.) _ Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:_ _ _; o r C.) __T his is a crimina document sub1 itted, and fli ght public safety, or security are significant concerns.
(Check one)

                                  10/17/2024
                                     DATE
